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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


FAHIRRI DANNAH,

              Plaintiff,                            Case No. 1:22-cv-385

v.                                                  Hon. Ray Kent

CITY OF GRAND RAPIDS, et al,

            Defendants.
___________________________________/


               ORDER ADJOURNING FINAL PRETRIAL CONFERENCE
                             AND JURY TRIAL

              The Final Pretrial Conference currently set for February 5, 2024, at 10:00 a.m.

and Jury Trial set for February 26, 2024, at 9:00 a.m., are adjourned without date.

              IT IS SO ORDERED.



Dated: January 12, 2024                     /s/ Ray Kent
                                            RAY KENT
                                            United States Magistrate Judge
